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 1
                                      UNITED STATES DISTRICT COURT
 2
                                          EASTERN DISTRICT OF CALIFORNIA
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 4

 5       UNITED STATES OF AMERICA,                                  Case No. 1:11-CR-000354-LJO
 6                                    Plaintiff,
                                                                    MEMORANDUM DECISION AND ORDER
 7               v.                                                 DENYING DEFENDANT’S MOTION TO
                                                                    REDUCE SENTENCE UNDER U.S.S.G.
 8       SALVADOR ZAMORA,                                           AMENDMENT 782
 9                                    Defendant.
10
                                                                    (Doc. 568)
11

12

13              Before the Court is Defendant Salvador Zamora’s motion to reduce his sentence (Doc. 568),

14   under U.S.S.G. § 1B1.10(b)(1) and Amendment 782 to the United States Sentencing Guidelines,1

15   which revised the Drug Quantity Table in § 2D1.1 and reduced by two levels the offense level

16   applicable to many drug trafficking offenses. The Government has opposed the motion on the basis

17   that the defendant is not eligible for a reduction under § 1B1.10. See Doc. 614. Upon a thorough

18   review of the parties’ briefing, the record in the case including the Probation Office’s Presentence

19   Report (“PSR”), and the relevant law, the Court will deny the motion.

20              A federal sentencing court is authorized to modify an imposed sentence when the relevant

21   sentencing range was lowered subsequent to a defendant’s original sentence. 18 U.S.C. § 3582(c)(2);

22   see United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013) (a district court may do so “in the

23   case of a defendant who has been sentenced to a term of imprisonment based on a sentencing range

24   that has subsequently been lowered by the Sentencing Commission.”). Effective November 1, 2014,

25   the Commission promulgated Amendment 782, which generally revised the Drug Quantity Table

26   and chemical quantity tables across drug and chemical types. The Commission also voted to make

27   Amendment 782 retroactively applicable to previously sentenced defendants.

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         Hereinafter, all references to sections (§) refer to the United States Sentencing Guidelines unless otherwise indicated.
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 1            However, a district court’s authority to modify a sentenced is constrained by the Sentencing

 2   Commission. Dillon v. United States, 130 S.Ct. 2691 (2010). Pursuant to § 1131.10(a)(2)(13), “[a]

 3   reduction in the defendant’s term of imprisonment is not consistent with this policy statement and

 4   therefore is not authorized under 18 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c)

 5   does not have the effect of lowering the defendant’s applicable guideline range.” § 1B1.10 (a)(2)(B).

 6            Original Sentence Imposed

 7            Here, accepting the PSR determination, the Court found a base offense level of 32 for the

 8   amount of methamphetamine involved the case, and a criminal history category of V. Pursuant to

 9   §§ 2D1.1(a)(5)(A) and (B)(i), Defendant qualified for a base offense reduction by 2 levels, to a level

10   30. Under § 3B1.2(b), Defendant’s minor role warranted a 3-level reduction, to a level 27. Finally,

11   the Court reduced by 3 the offense level for Defendant’s acceptance of responsibility, to an adjusted

12   offense level of 24. The Guidelines range for a defendant with an offense level of 24 and a criminal

13   history category V (based on 10 criminal history points) was 92-115 months. U.S.S.G. Ch. 5, Pt. A.

14   The Court adopted the recommendation in the PSR and, on August 26, 2013, imposed a sentence at

15   the low end of the guideline range, 92 months, with 48 months supervised release. See Docs. 332,

16   338.

17            Application of Amendment

18            The drug quantity table has reduced Defendant’s base offense level from 32 to 30. However,

19   once an offense level falls below level 32, § 2D1.1(a)(5) does not operate. In other words,

20   Defendant’s original downward adjustment (going from 32 to 30) under § 2D1.1(a)(5)(A), nets the

21   same result as the new offense level under the Amendment 782. In sum, Amendment 782 has not

22   reduced the guideline range applicable in Defendant’s case, as shown below.

23     Base Offense Level                  32   New Base Offense Level          30

24     Reduction pursuant to               -2   Reduction pursuant to           ineligible where base
       §§ 2D1.1(a)(5)(A), (B)(i)                §§ 2D1.1(a)(5)(A), (B)(i)       offense level is below 32
25
       Reduction pursuant to § 3D1.2       -3   Reduction pursuant to § 3D1.2   -3
26     Acceptance of Responsibility        -3   Acceptance of Responsibility    -3
27          Original Total Offense Level   24         New Total Offense Level   24
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                                                         2
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 1          Because the application of the Amendment does not have the effect of lowering Defendant’s

 2   applicable guideline range, § 1B1.10 (a)(2)(B ) precludes a sentence reduction. See, e.g., United

 3   States v. Leniear, 574 F.3d 668, 673-74 (9th Cir. 2009) (the final sentencing range was unchanged

 4   due to the operation of the grouping rules).

 5          The Court commends Defendant on his many accomplishments while in prison, including

 6   earning his GED, completing the ACE Alternatives to Violence Program, as well as completing his

 7   Drug Education courses. The Court’s denial of his request is in no way a reflection of Defendant’s

 8   character, but rather a matter of law.

 9          CONCLUSION AND ORDER

10          For the foregoing reasons, IT IS HEREBY ORDERED that Defendant Salvador Zamora’s

11   motion to reduce his sentence is DENIED, pursuant to 18 U.S.C. § 3582(c)(2).

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     IT IS SO ORDERED.
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15      Dated:     October 1, 2015                          /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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